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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           :          CHAPTER 7
                                                 :
DARWIN G. FLORES,                                :
                                                 :          CASE NO. 20-67784-JWC
         Debtor.                                 :
                                                 :


                   APPLICATION TO EMPLOY REAL ESTATE AGENT
                          UNDER LISTING AGREEMENT

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

of Darwin G. Flores (“Debtor”), and moves this Court for an Order authorizing him to employ

Humphries & King Realty and John V. Ball (collectively, “Humphries & King”) as listing agent

for the Estate (the “Application”), and respectfully shows this Court as follows:

                                     Jurisdiction and Venue

         1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409(a).

                                       Background Facts

         2.    Debtor initiated the underlying bankruptcy case (the “Case” or “Bankruptcy

Case”) by filing a voluntary petition for relief under Chapter 13 of Title 11 of the United States

Code (the “Bankruptcy Code”) on July 2, 2020 (the “Petition Date”).

         3.    On February 10, 2022, the Court entered an order converting the Case to one under

Chapter 7. [Doc. No. 50].

         4.    Trustee was thereafter appointed and remains the duly acting Chapter 7 trustee in




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this Case.

         5.    Debtor is now proceeding pro se. [Doc. No. 63].

         6.    At the commencement of the Case, the bankruptcy estate was created under 11 U.S.C.

§ 541(a) (the “Bankruptcy Estate”), and it includes all of Debtor’s legal or equitable interests in

property as of the commencement of the Case and any interest in property that the Bankruptcy Estate

acquired after commencement of the Case. 11 U.S.C. §§ 541(a)(1) and (7).

                                           The Property

         7.    Prior to the Petition Date, Debtor was the sole owner of record of a certain real

property with a common address of 5598 Charmaine Bnd, Norcross, GA 30071 (the “Property”).

[Doc. No. 1 at page 20 of 72].

         8.    Upon Debtor’s filing his voluntary bankruptcy petition, the Bankruptcy Estate was

formed, and it includes all of his legal or equitable interests in property as of the commencement

of the Bankruptcy Case, including the Property. See 11 U.S.C. § 541(a)(1).

         9.    On his Schedule D: Creditors Who Have Claims Secured by Property, Debtor

scheduled a purported secured claim in the Property of New Res-Shellpoint Mtg in the amount of

$104,975.00. [Doc. No. 1 at page 32 of 72].

                            Request for Authority to Employ Realtor

         10.   Based on a thorough inspection, evaluation, and comparative marketing analysis by a

licensed real estate broker, Trustee has determined that the Property should be marketed for sale at a

listing price of $265,000.00.     At this list price, Trustee estimates that there is approximately

$100,000.00 of equity in the Property.

         11.   Accordingly, Trustee requests authority from the Court to employ Humphries & King

as his listing agent in the proposed sale of the Property under a listing agreement effective through



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and including January 31, 2023 (the “Listing Agreement”), which may be extended if necessary,

starting at a list price of $265,000.00, with a six (6%) percent commission of the selling price. The

Listing Agreement is attached hereto, marked as Exhibit “A,” and incorporated herein by reference.

         12.     Any contract for sale of the Property will be subject to Bankruptcy Court approval

following the filing of a motion under 11 U.S.C. § 363.

         13.     The affidavit of John V. Ball regarding the matters set out in this Application is

attached hereto as Exhibit "B" and incorporated herein by reference.

         14.     Humphries & King does not represent any interest adverse to the Bankruptcy Estate

and is a disinterested person as that term is defined under 11 U.S.C. §101(14). Humphries & King

has no current relationship with Trustee or Debtor.

         15.     The employment of Humphries & King as the listing agent to sell the Property

pursuant to the terms of the Listing Agreement is in the best interest of the Bankruptcy Estate.

         WHEREFORE, Trustee prays that this Court grant authority to employ Humphries & King as

his listing agent to sell the Property pursuant to the Listing Agreement and for such other and further

relief as is just and proper.

                 Respectfully submitted this 27th day of July, 2022.

                                                ARNALL GOLDEN GREGORY, LLP
                                                Attorneys for Trustee

                                                By:/s/ Michael J. Bargar
                                                   Michael J. Bargar
                                                   Georgia Bar No. 645709
                                                   michael.bargar@agg.com

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                             EXHIBIT “A” FOLLOWS




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                              EXHIBIT “B” FOLLOWS




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                                   CERTIFICATE OF SERVICE

         This is to certify that I have mailed a copy of the foregoing Application to Employ Real Estate
Agent Under Listing Agreement by depositing in the United States mail a copy of same in a properly
addressed envelope with adequate postage affixed thereon to assure delivery to:
Office of the U.S. Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Darwin G. Flores
5598 Charmaine Bnd
Norcross, GA 30071

John V. Ball
Humphries & King Realty
830 Glenwood Avenue, Suite 510-205
Atlanta, Georgia 30316

         This 27th day of July, 2022.


                                        /s/ Michael J. Bargar
                                        Michael J. Bargar
                                        Ga. Bar No. 645709




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